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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



                                                            Case No. 1:03-md-01570-GBD-SN
 In re TERRORIST ATTACKS ON
 SEPTEMBER 11, 2001                                         Hon. George B. Daniels
                                                            Hon. Sarah Netburn


 This document relates to: All Actions



                  MATTHEW S. LEDDICOTTE’S NOTICE OF MOTION
                  TO WITHDRAW AS COUNSEL TO AL RAJHI BANK

       PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 1.4, and upon his

accompanying declaration, Matthew S. Leddicotte, hereby moves this Court, before the Honorable

George B. Daniels, United States District Judge, and the Honorable Sarah Netburn, United States

Magistrate Judge, at the United States District Court for the Southern District of New York,

40 Foley Square, New York, New York, 10007, on a date and at a time designated by the Court,

for an Order granting Matthew S. Leddicotte to withdraw as counsel for Al Rajhi Bank in this

action and all relevant sub-actions.

       As set forth in the attached declaration, withdrawal is necessary because the undersigned

will cease to be associated with White & Case LLP after April 13, 2023. White & Case LLP will

continue to serve as counsel for Al Rajhi Bank. My withdrawal will not occasion a request for an

extension of any deadlines in the case. I am not asserting a retaining or charging lien in connection

with my departure.
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       In connection with the withdrawal, the Clerk is request to remove the name of the

undersigned from the CM/ECF service list.

Dated: April 13, 2023                       Respectfully submitted,
       Washington, D.C.


                                             /s/ Matthew S. Leddicotte
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